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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION

THE STATE OF TEXAS, et al.,

      Plaintiffs,
                                       Civil Action No. 4:20-cv-00957-SDJ
v.
                                       Hon. Sean D. Jordan
GOOGLE LLC,

      Defendant.


               PLAINTIFF STATES’ RESPONSE IN OPPOSITION TO
                GOOGLE’S MOTION TO STRIKE JURY DEMAND
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                                        INTRODUCTION

       Last year, the Supreme Court reaffirmed that the Seventh Amendment protects the right to

a jury trial in enforcement actions seeking civil penalties. SEC v. Jarkesy, 603 U.S. 109 (2024).

Unmoved by that binding precedent, Google seeks to avoid the judgment of twelve citizens by

attempting to persuade this Court that no DTPA claim, and no enforcement action need ever be

tried to a jury, even when the government seeks substantial civil penalties. On Google’s telling, a

defendant who deceives investors must answer to his peers, while a company that deceives

consumers is entitled to a bench trial. If that nonsensical hair splitting seems to defy Jarkesy, that

is because it does. Google toggles from the nonsensical to the frivolous toward the end of its

motion, contending that the penalty the States seek is so excessive under the Eighth Amendment

that the Court cannot allow a jury to hear it. This flips the proper analysis upside down, removing

the safeguard of a jury in cases that need it most. The Court should reject Google’s arguments and

deny the motion.

                                      LEGAL STANDARD

       The right to a jury trial is sacrosanct in federal court. It is “of such importance and occupies

so firm a place in our history and jurisprudence that any seeming curtailment of the right” must

“be scrutinized with the utmost care.” Dimick v. Schiedt, 293 U.S. 474, 486 (1935). When the

Constitution was submitted to the States for ratification, citizens balked at the lack of a “provision

for the trial by jury in civil cases.” The Federalist No. 83, 495 (Clinton Rossiter ed. 1961)

(Alexander Hamilton). To quell their concerns, one of the twelve amendments that the First

Congress submitted to the States for ratification provided: “In Suits at common law, where the

value in controversy shall exceed twenty dollars, the right of trial by jury shall be preserved.” U.S.

Const. amend. VII.




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        Although the Seventh Amendment certainly covers “common-law forms of action

recognized” in 1791, Curtis v. Loether, 415 U.S. 189, 193 (1974), it also covers “all suits, which

are not of equity and admiralty jurisdiction, whatever may be the peculiar form which they may

assume.” Ross v. Bernhard, 396 U.S. 531, 533 (1970) (quoting Parsons v. Bedford, Breedlove &

Robeson, 28 U.S. 433, 447 (1830)). Whether a claim is statutory does not factor into the analysis.

See Tull v. United States, 481 U.S. 412, 414-15, 417-25 (1987). Rather, if a claim is “legal in

nature” then there is a right to a jury trial. Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 53 (1989).

        “To determine whether a suit is legal in nature,” courts must “consider the cause of action

and the remedy it provides.” Jarkesy, 603 U.S. at 122-23. Accounting for these two factors, courts

look for “a single historical analog” that most closely resembles the cause of action at issue. Tull,

481 U.S. at 421 n.6. If that best historical analog is legal, the jury right attaches; but “those actions

that are analogous to 18th-century cases tried in courts of equity or admiralty do not require a jury

trial.” Id. at 417. The cause of action is rarely identical to the best historical analog. Jarkesy, 603

U.S. at 126. A cause of action may be “broader,” “narrower,” or both, but still analogous. Id.

        Although courts must consider the cause of action, the remedy sought is the “more

important” factor. Tull, 481 U.S. at 421. Because many claims are both equitable and legal in

nature, often “the remedy is all but dispositive.” Jarkesy, 603 U.S. at 123. When a lawsuit seeks

legal remedies, the Seventh Amendment protects the right to a jury trial. When the relief sought is

purely equitable, there is no Seventh Amendment right to a jury trial.

                                            ARGUMENT

I.      The States are Entitled to a Jury Trial on Their DTPA Claims.

        The Seventh Amendment requires a jury trial on the DTPA claims for two reasons: first,

because civil penalties are a legal remedy, and second, because the DTPA claims are analogous to




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actions at law. Google’s arguments to the contrary either misconstrue or fail to mention on-point

cases from the Supreme Court and Fifth Circuit.

   A. DTPA Civil Penalties are Legal, Not Equitable, Remedies.
       A jury right attaches to the claims here because the States seek civil penalties, which are

legal, not equitable, remedies. Jarkesy is on all fours. In Jarkesy, “the SEC s[ought] civil penalties,

a form of monetary relief. While monetary relief can be legal or equitable, money damages are the

prototypical common law remedy.” 603 U.S. at 123 (citing Mertens v. Hewitt Assocs., 508 U.S.

248, 255 (1993)). To decide “whether a monetary remedy is legal,” courts must examine “if it is

designed to punish or deter the wrongdoer, or, on the other hand, solely to ‘restore the status quo.’”

Id. (quoting Tull, 481 U.S. at 422). Civil penalties, of course, do not “serve a remedial purpose,

but rather can only be explained as [] serving either retributive or deterrent purposes.” Austin v.

United States, 509 U.S. 602, 610 (1993) (cleaned up). In Jarkesy, the Supreme Court found it

dispositive that, although “the SEC can choose to compensate injured shareholders from the civil

penalties it collects . . . it is not required to do so,” and therefore the “penalty by definition does

not ‘restore the status quo’ and can make no pretense of being equitable.” 603 U.S. at 124

(emphasis added). The same points are dispositive here.

       Civil penalties serve quintessential legal purposes, such as deterrence and punishment. See,

e.g., Watson Lab’ys, Inc. v. State, 241 So. 3d 573, 593 (Miss. 2018) (civil penalties under

Mississippi’s DTPA seek “to deter [the] repetition” of illegal conduct (quotation omitted)); State

ex rel. Wilson v. Ortho-McNeil-Janssen Pharms., Inc., 777 S.E.2d 176, 203 n.31 (S.C. 2015) (“the

appropriate factors for assessing a civil penalty in an Attorney General directed claim under” the

DTPA include “the deterrence value of the assessed penalties” and various factors geared toward

punishing the defendant); Molano v. State, 262 S.W.3d 554, 559 (Tex. App. 2008) (Texas DTPA

“authorizes civil penalties to punish violators for their unlawful conduct” (citation omitted)).


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       Two Supreme Court cases (Jarkesy and Tull) have held that civil penalties are legal

remedies, not equitable. Google has cited no controlling—or even persuasive—authority that civil

penalties are ever equitable. “Indeed, courts in equity refused to enforce such penalties.” Tull, 481

U.S. at 424. Beyond that historical problem, Google does not even try to explain how civil penalties

restore the status quo or otherwise serve a traditional equitable purpose. They clearly do not.

Google’s own summary judgment motion admits that “[t]he penalties the States seek here will not

be paid to any allegedly injured party; to the contrary, they will be paid to State treasuries.” Dkt.

672 at 10 n.6. And so, just as in Jarkesy, the “penalty by definition does not ‘restore the status quo’

and can make no pretense of being equitable.” 603 U.S. at 124. As in prior cases, the civil penalties

sought here are legal, not equitable, which is “all but dispositive.” Id. at 123.

   B. The States’ DTPA Claims Are Traceable to Common-law Actions.
       DTPA claims for civil penalties are more analogous to common-law actions than to any

equitable action. Specifically, the Supreme Court has held that actions seeking civil penalties are

analogous to actions in debt: “Prior to the enactment of the Seventh Amendment, English courts

had held that a civil penalty suit was a particular species of an action in debt that was within the

jurisdiction of the courts of law.” Tull, 481 U.S. at 418 (citing Atcheson v. Everitt, 98 Eng. Rep.

1142 (K.B. 1775); Calcraft v. Gibbs, 101 Eng. Rep. 11 (K.B. 1792)). “Actions by the Government

to recover civil penalties under statutory provisions therefore historically have been viewed as one

type of action in debt requiring trial by jury.” Id. at 418-19 (emphasis added); see also Jarkesy,

603 U.S. at 122.

       Alternatively, like the civil penalty claims under Rule 10b–5 in Jarkesy, DTPA claims are

analogous to common-law fraud claims for Seventh Amendment purposes. See In re Takata Airbag

Prods. Liab. Litig., 464 F. Supp. 3d 1291, 1302 (S.D. Fla. 2020); see also Patane v. Nestle Waters

N. Am., Inc., 478 F. Supp. 3d 318, 354 (D. Conn. 2020). Both bar “[o]missions and


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[m]isstatements.” Takata Airbag, 464 F. Supp. 3d at 1303. Although the court did not explicitly

say so, the link helps explain why there is a Seventh Amendment right to a jury trial in suits for

civil damages under the FTC Act. See United States v. Dish Network, L.L.C., 754 F. Supp. 2d 1002,

1003-04 (C.D. Ill. 2010).

       There is no traditional equitable claim that is analogous to a DTPA claim.1 Google correctly

recognizes that the proper question is “whether a statutory action is more similar to cases that were

tried in courts of law or courts of equity.” Motion at 2 (emphasis added). But after asking the right

question, Google answers it with a non-sequitur: DTPA claims are “novel[]” and do not codify the

common law. Id. at 3. That is irrelevant. The whole point of looking to historical analogs is to

properly categorize novel claims as either legal or equitable in nature. Next, Google quotes Atlas

Roofing, which addresses public rights (which are not at issue here), and was narrowed—if not

overruled—by Jarkesy. Id. (quoting Atlas Roofing Co. v. Occupational Safety & Health Rev.

Comm’n, 430 U.S. 442, 461 (1977)). That is not enough. The Seventh Amendment “embrace[s]

all suits, which are not of equity and admiralty jurisdiction.” Ross, 396 U.S. at 533 (quoting

Parsons, 28 U.S. at 447). Google needed to proffer an equitable analog to a DTPA claim. See, e.g.,

In re Abbott, 117 F.4th 729, 736 (5th Cir. 2024) (denying a jury trial right only after identifying an

equitable analog). If Google were right, Tull would have come out the other way, since penalties

under the Clean Water Act are obviously not a “codification” of the common-law action in debt.

Rather, Tull and Jarkesy show that the common-law analog need not be “identical”; it can be

broader, narrower, or both. 603 U.S. at 126.




1
  Claims seeking equitable remedies—such as disgorgement or unjust enrichment—may be
analogous to some traditional equitable claim. But all equitable remedies will be heard by the Court
in this case.

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    C. Google’s Arguments Misconstrue or Ignore Controlling Precedent.
       Because controlling precedent compels denying Google’s motion, it cobbles together a

patchwork of inapplicable case law. The Court should not be fooled.

           1. Parties are entitled to have a jury decide claims for legal relief even if the legal
              claims are incidental to equitable claims.
       Understanding that the States seek legal remedies—civil penalties—Google argues that

this relief is merely incidental to the claims for equitable relief. But they clearly are not, and it

would not matter if they were. Google quotes Tull (at 5) but ignores that the phrase it quotes is

summarizing what the “Government next contends,” not what the Court holds. 481 U.S. at 424.

The Court’s actual holding emphasized the “flaws” in that argument. Id. First, and dispositive here:

“while a court in equity may award monetary restitution as an adjunct to injunctive relief, it may

not enforce civil penalties,”2 even when the issues are intertwined (since civil penalties are always

legal). Id. (emphasis added). Second, the Court deemed the “$22 million” penalty as too large to

“be considered incidental to” the equitable relief. Id. at 424-25. That is true here too given the size

of the penalties sought.3

       Beyond Tull, Google ignores the binding authority of Dairy Queen, Inc. v. Wood, 369 U.S.

469 (1962), where the Supreme Court rejected the exact argument that Google makes here. There,

the plaintiffs sued seeking an accounting and an injunction barring trademark infringement. Id. at

474-75. Incidental to those claims for equitable relief, the plaintiffs also sought a judgment for



2
 Modern practice in state courts with separate courts of equity may—and some do—allow courts
of equity to grant civil penalties, but the inquiry for Seventh Amendment purposes is historical.
3
  If it mattered, Google has not even shown that the civil penalties claims are “incidental.” Its
argument is apparently based solely on the statutory text that Texas can request civil penalties “in
addition to” its requests for equitable remedies. Motion at 5. That wording does not show that civil
penalties are “dependent upon injunctive relief.” Motion at 6. Beyond that, the Supreme Court in
Tull looked at the complaint in that specific case, not the statute in general to determine what was
“incidental.” Here, the substantial penalty at issue is not incidental.

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what the defendant owed them for using the trademark without paying required licensing fees. Id.

The defendant demanded a jury trial over the request for money damages that was incidental to,

and intertwined with, the request for an accounting. The district court struck the demand, and the

Third Circuit denied mandamus relief. The Supreme Court reversed. As it explained, “insofar as

the complaint requests a money judgment it presents a claim which is unquestionably legal” that

triggered the right to a jury trial on that issue. Dairy Queen, 369 U.S. at 476. The Supreme Court

rejected the “view that the right to trial by jury may be lost as to legal issues [that are] ‘incidental’

to equitable issues.” Id. at 470.

        The Fifth Circuit reached the same conclusion. As Judge Wisdom explained, “where the

presence of legal and equitable causes in the same case requires the selection between a jury and

a non-jury determination of certain common issues, the discretion of the trial court is very narrowly

limited and must, wherever possible, be exercised to preserve jury trial.” Thermo-Stitch, Inc. v.

Chemi-Cord Processing Corp., 294 F.2d 486, 490 (5th Cir. 1961) (cleaned up; emphasis added).

This is true even if “the equitable cause clearly outweigh[s] the legal cause so that the basic issue

of the case taken as a whole is equitable”; “[a]s long as any legal cause is involved the jury rights

it creates control.” Id. at 491. The law remains the same today. See United States v. ERR, LLC, 35

F.4th 405, 411 (5th Cir. 2022) (citations omitted). Google cites none of these binding decisions,

nor are they cited by the cases Google relies upon in § II(a)(ii) of its motion. Recently, the Fifth

Circuit interpreted Dairy Queen to mean that when an equitable “claim is intertwined with” a legal

claim, “a jury trial is required on the overlapping issues to preserve the Seventh Amendment right.”

Id. at 414 (citations omitted). That principle controls here.

        True, there are equitable issues here. That is why the States consented to bifurcating the

proceedings so that the legal issues could be resolved first—as required by Beacon Theatres, Inc.




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v. Westover, 359 U.S. 500 (1959)—followed by the equitable issues. The States seek only to protect

the Seventh Amendment right to a jury trial for their legal claims. Under Dairy Queen, it is

immaterial whether the legal claims are incidental to the equitable claims. This Court should apply

Jarkesy, Tull, Dairy Queen, and ERR, even though Google did not.

            2. None of the state-law issues Google raises displace the Seventh Amendment.
        Google briefs various state-law issues, but never explains how each fits into this Court’s

analysis. Both sides agree that “the right to a jury trial in the federal courts is to be determined as

a matter of federal law.” Simler v. Conner, 372 U.S. 221, 222 (1963); see Motion at 2 (quoting this

proposition). So although “the substantive dimension of the claim asserted finds its source in state

law . . . the characterization of that state-created claim as legal or equitable for purposes of whether

a right to jury trial is indicated must be made by recourse to federal law.” Simler, 372 U.S. at 222

(cleaned up). This basic point nullifies Google’s arguments that under different state laws civil

penalties are legal or equitable or incidental or not. State terminology differs in subtle ways from

federal terminology, but state-law characterization makes no federal difference.4

        Beyond that, “[t]he Seventh Amendment, [] governs proceedings in federal court, but not

in state court.” Gasperini v. Ctr. for Humans., Inc., 518 U.S. 415, 432 (1996) (citing Walker v.

Sauvinet, 92 U.S. 90, 92 (1875)). Thus, States can have more expansive or less expansive jury-

trial rights; there is no federal constitutional floor.5 For that reason, state court decisions on the

scope of the right to a jury trial shed no light on the issue presented here. Google’s reliance on such

cases rather than binding federal precedent is telling.


4
 The desire to avoid irrelevant issues does not mean that the States agree with Google’s state-law
arguments. To be clear, Google is wrong under state law too.
5
  For example, Louisiana’s constitution does not provide a right to a jury trial and the statutory
right is narrower than the Seventh Amendment. See La. Code Civ. Proc. Ann. arts. 1731-32. In
Idaho, there is a diminished jury trial right when a case involves both equitable claims and legal
claims. See Idaho First Nat’l Bank v. Bliss Valley Foods, Inc., 824 P.2d 841, 865 (Idaho 1991).

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            3. FTC Act cases show the states are entitled to a jury trial.
        FTC Act cases confirm the right to a jury trial here. The FTC Act cases Google cites are

irrelevant, as they correctly held that cases brought under Section 13(b) of the FTC Act, 15 U.S.C.

§ 53(b), where the FTC may seek only equitable relief, need not be tried to a jury. AMG Cap.

Mgmt., LLC v. FTC, 593 U.S. 67, 75 (2021) (holding § 13(b) “does not authorize the Commission

directly to obtain court-ordered monetary relief”). But when the government sues under a separate

FTC Act section permitting the award of civil penalties, the Seventh Amendment protects the right

to a jury trial. See, e.g., Dish Network, 754 F. Supp. 2d at 1003-04.

II.     The States are Entitled to a Jury Trial on Their Antitrust Claims.

        Google concedes that “the Seventh Amendment protects the right to a jury trial of antitrust

damages claims brought by private plaintiffs . . . [because] antitrust claims were actionable at

common law and are considered to be legal in nature.” Motion at 8 (citations omitted). Still, Google

argues that the States are not entitled to a jury trial on their state antitrust claims because there is

no history of sovereigns trying antitrust claims to a jury. This argument fails for five reasons.

        First, Google has waived this argument. Google’s counsel conceded on the record that

“there is a jury trial right to a trial on liability in the antitrust claims.” Tr. 11/6/24, 31:20-21. It

cannot unring the bell with a footnote in its motion.

        Second, Google cites no cases for the proposition that courts look to the identity of the

plaintiff when determining whether the Seventh Amendment guarantees a jury trial. Rather, both

cases Google cites point to the “action,” not the parties. Chauffeurs, Teamsters & Helpers, Loc.

No. 391 v. Terry, 494 U.S. 558, 565 (1990) (quoting Tull, 481 U.S. at 417); Jarkesy, 603 U.S. at

121. That is why in Jarkesy the Court did not consider the identity of the sovereign as a party when

reaching its decisions. See 603 U.S. at 124-26. Rather, it looked to whether similar actions were

triable at common law. The Fifth Circuit has done the same. See Austin v. Shalala, 994 F.2d 1170,


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1175 (5th Cir. 1993) (when the Federal Government sues, the usual Seventh Amendment rules

apply when deciding whether there is a right to a jury trial).

       Third, Google’s arguments defy binding precedent. The States seek civil penalties. Again,

“[a]ctions by the Government to recover civil penalties under statutory provisions [] historically

have been viewed as one type of action in debt requiring trial by jury.” Tull, 481 U.S. at 418-19

(emphasis added). This Court cannot follow the path recommended by a scholarly declarant over

the commands of the Supreme Court.6 The declaration also relates solely to “damages,” not

penalties, and asserts, with no explanation, that the proper analog for this case is for “‘satisfaction

in damages for any personal wrong’ against the monarch.” Dkt. 690-1 at 4. This is likely because

it was submitted in the Federal Government’s action, which involved claims for damages the

Federal Government sought directly. This is an enforcement action for civil penalties, not for

damages to redress “personal wrongs” against governments, so the arguments are irrelevant.

       Fourth, with respect to the state-law antitrust claims, the remedies (including civil

penalties) and nature of the claim produce the same result as with the DTPA claims. Antitrust civil

penalties are meant to punish and deter. For example, Mississippi calls the civil penalties imposed

for antitrust violations a “punishment,” Grenada Lumber Co. v. State ex rel. Att’y Gen., 54 So. 8,

10 (Miss. 1911), meant to “deter[]” future violations. Hood ex rel. State v. BASF Corp., No. 56863,

2006 WL 308378, at *11 (Miss. Ch. Jan. 17, 2006).7




6
  The declaration differs from binding precedent in other ways too. For example, it cites two
sources (one of which is a student note) for the proposition that “complex cases” would not be
tried to a jury, but obviously Seventh Amendment precedents disagree. Dkt. 690-1 at 5.
7
  BASF also shows why Google’s reliance on state cases misses the mark. Mississippi law differs
significantly from federal law. For example, Mississippi has separate equity and law courts, and
the Mississippi Legislature’s assignment of cases to those courts differs from how cases were
divided in 1791. Thus, whether a party is entitled to a jury trial in Mississippi state court is
unrelated to whether there is a right to a jury trial in federal court.

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          Finally, even if the States were not independently entitled to a jury trial on their antitrust

claims, those claims must still be tried to a jury because they are intertwined with the DTPA claims

for which the States are entitled to a jury trial. In federal court for Seventh Amendment purposes,

when an equitable “claim is intertwined with” a legal claim, “a jury trial is required on the

overlapping issues to preserve the Seventh Amendment right.” ERR, 35 F.4th at 414 (citations

omitted). For example, the States allege that Google deceived advertisers, publishers, and the

public about its Dynamic Revenue Share program, Dkt. 712 at 10-12, 47-50, and Project Bernanke,

id. at 12-14, 50-53. There is no way to untangle the DTPA claims relating to DRS and Bernanke

from the state antitrust claims—all the antitrust counts in the fourth-amended complaint allege the

deceptive and anticompetitive aspects of DRS and Bernanke. Because the antitrust claims are

intertwined with the DTPA claims, they must be tried to a jury whether they are equitable or legal.

III.      A Jury Should Decide the Amount of Civil Penalties.8

       A. Google’s Eighth Amendment Argument Lacks Merit.
          Google argues (at 14-15) that the Court must set the civil penalty amount to avoid Eighth

Amendment problems. This argument is nonsensical on its face and ignores applicable law on both

substance and procedure. Start with the substantive law, which is crystal clear: “No matter how

excessive (in lay terms) an administrative fine may appear, if the fine does not exceed the limits

prescribed by the statute authorizing it, the fine does not violate the Eighth Amendment.” Newell

Recycling Co. v. EPA, 231 F.3d 204, 210 (5th Cir. 2000). In other words, civil penalties are not

analyzed under United States v. Bajakajian, 524 U.S. 321 (1998). True, other Circuits engage in

the Bajakajian analysis for civil penalties. E.g., United States v. Aleff, 772 F.3d 508, 512 (8th Cir.

2014). But this Court is bound by Newell Recycling, not Aleff.



8
    The State of South Carolina does not join in Section III of the Response.

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        Next, consider the procedure. The proper time to consider whether a civil penalty violates

the Eighth Amendment is after the verdict in a post-trial motion seeking remittitur. See, e.g., Yates

v. Pinellas Hematology & Oncology, P.A., 21 F.4th 1288, 1297 (11th Cir. 2021); United States ex

rel. Bunk v. Gosselin World Wide Moving, N.V., 741 F.3d 390, 405 (4th Cir. 2013) (agreeing to

remittitur). Even Google’s favorite quote from Bajakajian—district courts must assess penalties

“in the first instance,” 524 U.S. at 336—was discussing how appellate courts review district courts’

findings. The quote had nothing to do with whether juries could decide the civil penalty amount.

The proper time to consider the constitutionality of a penalty is after the verdict because if the jury

stayed within a permissible amount (or found for Google), there would be no constitutional

violation. Google cites no case in which any court has ever stricken a jury demand on these

grounds. There are none, because the argument is preposterous.

    B. The Seventh Amendment Requires A Jury Determine Civil Penalties.
        Google relies almost exclusively on Tull for its argument, but Tull was an unusual case.

The typical rule—that juries calculate monetary amounts for remedies—has been applied for

almost two hundred years. In Dimick, the Court held that the Seventh Amendment bars courts from

increasing a jury verdict. 293 U.S. at 486. That is because deciding the amount to award a plaintiff

is a factual issue that is in the sole discretion of the jury. See id. And in Bank of Hamilton v. Dudley’s

Lessee, the Court said a jury must calculate compensation for improvements made to real property

by a lessee. 27 U.S. 492, 525 (1829).

        The Supreme Court in Tull departed from this longstanding view based on “legislative

history” from which it concluded that “Congress intended that trial judges perform the highly

discretionary calculations necessary to award civil penalties after liability is found.” 481 U.S. at

425. Congress apparently assumed the penalties would be set based on EPA’s “penalty calculation

policy,” but did not actually enact any statutory criteria (though some were added later). Id. at


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422 n.8. The next question was whether Congress’s decision violated the Constitution. Lacking

any “evidence” of what “the Framers meant,” the Court reasoned that since Congress could fix the

amount, it could also delegate the question to a court, which it had apparently done. Id. at 426 &

n.9. The calculation contemplated by Congress was among “the kinds of calculations traditionally

performed by judges.” Id. at 427. And so, over a vigorous dissent by Justice Scalia, the Court

allowed the judge, rather than the jury, to decide on penalties.

        The Supreme Court quickly cast doubt on this portion of Tull. In Feltner v. Columbia

Pictures Television, Inc., it held that the question of statutory damages must be decided by a jury.

523 U.S. 340, 355 (1998). Justice Thomas’s opinion for the Court warned that the “portion of our

opinion [in Tull that Congress could authorize trial judges to assess the amount of civil penalties]

was arguably dicta,” id. at 354 n.8, cited Justice Scalia’s dissent, id. at 355, and emphasized that

the Tull Court was “presented with no evidence” of the history, id. Beyond that, Tull was “at least

in tension” with multiple other cases that did require the jury to calculate monetary amounts. Id.

at 355 n.9.

        The Supreme Court’s recent Jarkesy case further undercuts this portion of Tull. Unlike Tull,

there were statutory criteria in Jarkesy, and those criteria made clear that the penalty calculation

addressed punishment and deterrence, which is quintessentially for the jury. The Court expressly

relied on the factors to be considered when deciding whether to assess civil penalties: “(1) whether

the [] misconduct involved fraud, deceit, manipulation, or deliberate or reckless disregard for

regulatory requirements, (2) whether it caused harm, (3) whether it resulted in unjust enrichment

. . . (4) whether the defendant [] previously violated securities laws . . . (5) the need for deterrence,

and (6) other matters as justice may require.” Jarkesy, 603 U.S. at 123 (cleaned up). Several of the

factors “concern culpability, deterrence, and recidivism. Because they tie the availability of civil




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penalties to the perceived need to punish the defendant rather than to restore the victim, such

considerations are legal rather than equitable.” Id. at 123-24.

        Similarly, the “size of the available remedy” depends “on the culpability of the defendant

and the need for deterrence, not the size of the harm that must be remedied. Indeed, showing that

a victim suffered harm is not even required to” trigger a higher penalty. Jarkesy, 603 U.S. at 124.

“Since nothing in this analysis turns on ‘restor[ing] the status quo,’ these factors show that these

civil penalties are designed to be punitive.” Id. (quoting Tull, 481 U.S. at 422).

        This reasoning makes sense only if a jury is supposed to decide legal issues addressing

deterrence and retribution. If juries are supposed to decide issues related to “culpability . . . and

the need for deterrence,” id., then the presence of legal punishment criteria within the penalties

calculation gives a strong reason to give the decision to a jury. On the other hand, if courts always

decide the amount of a civil penalty—as Google claims—then this long section of Jarkesy is beside

the point because the resolution of the case will not affect who calculates penalties.

        This case is similar to Jarkesy and far from Tull. The civil penalties here are cabined by

statutory criteria, and those criteria emphasize punishment and deterrence in a way that is distinctly

legal under Jarkesy, and far from the calculations Tull said judges do every day. Moreover, unlike

Tull where congressional intent was paramount, here there is no federal statute that the Court would

need to strike down as unconstitutional to deny Google’s motion; no federal law prohibits trying

DTPA penalties to a jury. And there is no question that the intent of state lawmakers in Texas was

to entrust DTPA civil penalties calculations to juries. See State v. Credit Bureau of Laredo, Inc.,

530 S.W.2d 288, 289-92 (Tex. 1975).

        Still, Google’s argument that this Court should follow how state courts determine civil

penalties also lacks merit. Again, there is no federal right to a civil jury trial in state courts. Thus,




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state legislatures often have judges decide issues that juries must decide in federal court. That is

what some state legislatures have done here.

   C. The Court Should Submit the Issue to the Jury Even If It Is Not Required.
       Even if the Court holds that a jury is not required to determine the amount of penalties, that

does not require the Court to strike the jury demand. After all, “the right to jury trial is a

constitutional one . . . while no similar requirement protects trials by the court.” Beacon Theatres,

359 U.S. at 510. As a result, “[o]ne guiding beacon has been lit by the Supreme Court: when in

doubt, grant a jury trial.” City of New York v. Beretta, U.S.A. Corp., 312 F. Supp. 2d 411 (E.D.N.Y.

2004) (citations omitted). Supreme Court “decisions recognize that there is a strong federal policy

favoring jury trial of fact issues. The strength of this policy in itself may provide the answer in

cases in which the historical test gives no clear guidance.” Wright & Miller, 9 Fed. Prac. & Proc.

Civ. § 2302.1 (4th ed.). Here, both the federal courts and the States have a policy interest in favor

of juries, which should weigh strongly in favor of trying penalties to a jury.

       “In an action not triable of right by a jury, the court, on motion or on its own . . . may try

any issue with an advisory jury.” Fed. R. Civ. P. 39(c)(1). This Court has complete discretion on

whether to use an advisory jury. See Wright & Miller, supra § 2335. Submitting the penalty

question to the jury will resolve the case quicker. Moreover, further dividing the case raises

practical difficulties. Rather than giving a verdict in the form of a penalties number, the jury would

need to determine only liability. The Court would need to police which evidence is relevant to

liability versus penalties, which is likely to be slippery. At minimum, the Court should submit the

penalty question to an advisory jury, which can be one and the same as the mandatory jury for

determining jury-triable issues.

                                          CONCLUSION

       The Court should deny Google’s motion.


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 DATED: January 6, 2025                            Respectfully submitted,

 /s/ W. Mark Lanier                                /s/ Ashley Keller
 W. Mark Lanier                                    Ashley Keller
                                                   ack@kellerpostman.com
 Alex J. Brown                                     Kiran N. Bhat
 Alex.Brown@LanierLawFirm.com                      kiran.bhat@kellerpostman.com
 Zeke DeRose III                                   2333 Ponce De Leon Boulevard
 Zeke.Derose@LanierLawFirm.com                     Suite R-240
 Jonathan P. Wilkerson                             Coral Gables, Florida 33134
 Jonathan.Wilkerson@LanierLawFirm.com              (833) 633-0118
 10940 W. Sam Houston Pkwy N.
 Suite 100                                         Zina Bash (Bar No. 24067505)
 Houston, TX 77064                                 zina.bash@kellerpostman.com
 (713) 659-5200                                    111 Congress Avenue, Suite 500
                                                   Austin, TX 78701
                                                   (512) 690-0990

 THE LANIER LAW FIRM, PLLC                         /s/ Noah S. Heinz
                                                   Noah S. Heinz
                                                   noah.heinz@kellerpostman.com
                                                   1101 Connecticut Ave., N.W., Suite 1100
                                                   Washington, DC 20036
                                                   (202) 918-1123
                                                   KELLER POSTMAN LLC

Counsel for Texas, Idaho, Louisiana (The Lanier
Law Firm only), Indiana, Mississippi, North
Dakota, South Carolina, and South Dakota

Submitted on behalf of all Plaintiff States
NORTON ROSE FULBRIGHT US LLP
Joseph M. Graham, Jr.
joseph.graham@nortonrosefulbright.com
Geraldine Young
geraldine.young@nortonrosefulbright.com
1550 Lamar Street, Suite 2000
Houston, Texas 77010
(713) 651-5151

Marc B. Collier
Marc.Collier@nortonrosefulbright.com
98 San Jacinto Blvd., Suite 1100
Austin, Texas 78701
(512) 474‐5201



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                                          51693




FOR PLAINTIFF STATE OF TEXAS

KEN PAXTON
Attorney General

/s/ James R. Lloyd
Brent Webster, First Assistant Attorney General of Texas
Brent.Webster@oag.texas.gov
James R. Lloyd, Deputy Attorney General for Civil Litigation
James.Lloyd@oag.texas.gov

STATE OF TEXAS, OFFICE OF THE ATTORNEY GENERAL
P.O. Box 12548
Austin, TX 78711-2548
(512) 936-1674

Attorneys for Plaintiff State of Texas




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                                          51694



FOR PLAINTIFF STATE OF ALASKA:

TREG TAYLOR
ATTORNEY GENERAL


By: /s/ Jeff Pickett
Jeff Pickett
Senior Assistant Attorney General, Special Litigation Section
jeff.pickett@alaska.gov

Attorney for Plaintiff State of Alaska




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                                          51695



FOR PLAINTIFF STATE OF ARKANSAS:

TIM GRIFFIN
ATTORNEY GENERAL



By: __________________________
AMANDA J. WENTZ
Ark. Bar No. 2021066
Assistant Attorney General
Office of the Arkansas Attorney General
323 Center Street, Suite 200
Little Rock, AR 72201
(501) 682-1178
Amanda.Wentz@ArkansasAG.gov

Attorney for Plaintiff State of Arkansas




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                                          51696



FOR PLAINTIFF STATE OF FLORIDA:

ASHLEY MOODY, Attorney General

/s/ Lee Istrail
LEE ISTRAIL, Assistant Attorney General
FL Bar No. 119216

LIZABETH A. BRADY, Director, Antitrust Division
R. SCOTT PALMER, Special Counsel and Chief of Complex Enforcement
ANDREW BUTLER, Assistant Attorney General
CHRISTOPHER KNIGHT, Assistant Attorney General


Office of the Attorney General, State of Florida
PL-01 The Capitol
Tallahassee, Florida 32399
Phone: 850-414-3300
Email: scott.palmer@myfloridalegal.com

Attorneys for Plaintiff State of Florida




                                                   20
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                                          51697



FOR PLAINTIFF STATE OF IDAHO:

RAÚL R. LABRADOR
Attorney General

/s/ John K. Olson
John K. Olson, Deputy Attorney General

Consumer Protection Division
Office of the Attorney General
954 W. Jefferson Street, 2nd Floor
P.O. Box 83720
Boise, Idaho 83720-0010
Telephone: (208) 334-2424
john.olson@ag.idaho.gov

Attorneys for Plaintiff State of Idaho




                                            21
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                                          51698



FOR PLAINTIFF STATE OF INDIANA:

THEODORE E. ROKITA
Attorney General

/s/ Jesse J. Moore
Jesse J. Moore
Deputy Attorney General – Consumer Litigation
302 W. Washington St.
IGCS - 5th Floor
Indianapolis, IN 46204-2770
Phone: (317) 234-1479
Fax: (317) 232-7979
Email: jesse.moore@atg.in.gov

Attorneys for Plaintiff State of Indiana




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                                        51699



FOR PLAINTIFF COMMONWEALTH OF KENTUCKY:

RUSSELL COLEMAN
Attorney General

/s/ Philip R. Heleringer
Christian J. Lewis, Commissioner of the Office of Consumer Protection
christian.lewis@ky.gov
Philip R. Heleringer, Executive Director of the Office of Consumer Protection
philip.heleringer@ky.gov
Jonathan E. Farmer, Deputy Executive Director of the Office of Consumer Protection
jonathan.farmer@ky.gov
Office of the Attorney General
Commonwealth of Kentucky
1024 Capital Center Drive, Suite 200
Frankfort, Kentucky 40601
Tel: 502-696-5300

Attorneys for Plaintiff Commonwealth of Kentucky




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                                          51700



FOR PLAINTIFF STATE OF LOUISIANA:

By: /s/ Patrick Voelker
Liz Murrill, Attorney General
Michael Dupree, Assistant Attorney General
Patrick Voelker, Assistant Attorney General
Office of the Attorney General, State of Louisiana
Public Protection Division
1885 North Third St.
Baton Rouge, Louisiana 70802
(225) 326-6400
voelkerp@ag.louisiana.gov

s/ James R. Dugan, II___________
James R. Dugan, II (pro hac vice)
TerriAnne Benedetto (pro hac vice)
The Dugan Law Firm
365 Canal Street
One Canal Place, Suite 1000
New Orleans, LA 70130
PH: (504) 648-0180
FX: (504) 649-0181
EM: jdugan@dugan-lawfirm.com
      tbenedetto@dugan-lawfirm.com

James Williams
CHEHARDY SHERMAN WILLIAM, LLP
Galleria Boulevard, Suite 1100
Metairie, LA 70001
PH: (504) 833-5600
FX: (504) 833-8080
EM: jmw@chehardy.com

Attorneys for Plaintiff State of Louisiana




                                               24
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                                        51701



FOR PLAINTIFF STATE OF MISSISSIPPI:

LYNN FITCH, ATTORNEY GENERAL
STATE OF MISSISSIPPI

By:   /s/ Garrett S. Mascagni
      Garrett S. Mascagni
      Special Assistant Attorney General
      Consumer Protection Division
      Mississippi Attorney General’s Office
      Post Office Box 220
      Jackson, Mississippi 39205
      Telephone: 601-359-4223
      Fax: 601-359-4231
      Garrett.Mascagni@ago.ms.gov

      Attorney for Plaintiff State of Mississippi




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                                          51702



FOR PLAINTIFF STATE OF MISSOURI:

ANDREW BAILEY
Attorney General

/s/ Michael Schwalbert
Michael.Schwalbert@ago.mo.gov
Missouri Attorney General’s
Office
815 Olive St.
Suite 200
St. Louis, MO 63101
Tel: 314-340-7888

Attorneys for Plaintiff State of Missouri




                                            26
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                                         51703



FOR PLAINTIFF STATE OF MONTANA:

AUSTIN KNUDSEN
Montana Attorney General


/s/ Anna Schneider
Anna Schneider
Montana Attorney General’s Office
P.O. Box 200151
Helena, MT 59620-0151
Phone: (406) 444-4500
Fax: (406) 442-1894 Anna.Schneider@mt.gov


/s/ Charles J. Cooper
Charles J. Cooper
ccooper@cooperkirk.com
David H. Thompson
dthompson@cooperkirk.com
Brian W. Barnes
bbarnes@cooperkirk.com
Harold S. Reeves
hreeves@cooperkirk.com
COOPER & KIRK PLLC
1523 New Hampshire Avenue, NW
Washington DC 20036
Phone: (202) 220-9620
Fax: (202) 220-9601

Attorneys for Plaintiff State of Montana




                                            27
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                                         51704



FOR PLAINTIFF STATE OF NEVADA:

AARON D. FORD
Attorney General
ERNEST D. FIGUEROA
Consumer Advocate


/s/ Michelle C. Badorine
Michelle C. Badorine, Senior Deputy
Attorney General
MNewman@ag.nv.gov
Lucas J. Tucker (NV Bar No. 10252)
Senior Deputy Attorney General
LTucker@ag.nv.gov
Office of the Nevada Attorney General
100 N. Carson St.
Carson City, Nevada 89701
Tel: (775) 684-1100

Attorneys for Plaintiff State of Nevada




                                           28
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                                        51705



FOR PLAINTIFF STATE OF NORTH DAKOTA:

      STATE OF NORTH DAKOTA
      Drew H. Wrigley
      Attorney General


By:   /s/ Elin S. Alm
      Elin S. Alm, ND ID 05924
      Assistant Attorneys General
      Consumer Protection & Antitrust Division
      Office of Attorney General of North Dakota
      1720 Burlington Drive, Suite C, Bismarck, ND 58503-7736
      (701) 328-5570
      (701) 328-5568 (fax)
      ealm@nd.gov

      Attorneys for Plaintiff State of North Dakota




                                              29
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                                        51706



FOR PLAINTIFF COMMONWEALTH OF PUERTO RICO:

/s/ Domingo Emanuelli-Hernández
Domingo Emanuelli-
Hernández Attorney General
Thaizza Rodríguez Pagán
Assistant Attorney
General PR Bar No.
17177
P.O. Box 9020192
San Juan, Puerto Rico 00902-0192
Tel: (787) 721-2900, ext. 1201, 1204
trodriguez@justicia.pr.gov

Kyle G. Bates
HAUSFELD LLP
600 Montgomery Street, Suite 3200
San Francisco, CA 94111

Attorneys for Plaintiff Commonwealth of Puerto Rico




                                             30
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                                          51707



FOR PLAINTIFF STATE OF SOUTH CAROLINA:

ALAN WILSON
Attorney General


/s/ Mary Frances Jowers
Mary Frances Jowers
Assistant Deputy Attorney General
W. Jeffrey Young
Chief Deputy Attorney General
C. Havird Jones, Jr.
Senior Assistant Deputy Attorney General
South Carolina Attorney General’s Office
P.O. Box 11549
Columbia, South Carolina 29211-1549
Phone: 803-734-5855
Email: mjowers@scag.gov

Charlie Condon
Charlie Condon Law Firm, LLC
880 Johnnie Dodds Blvd, Suite 1
Mount Pleasant, SC 29464
Phone: 843-884-8146
Email: charlie@charliecondon.com

James R. Dugan, II (pro hac vice)
The Dugan Law Firm
365 Canal Street
One Canal Place, Suite 1000
New Orleans, LA 70130
Phone: (504) 648-0180
Email: jdugan@dugan-lawfirm.com


Attorneys for Plaintiff State of South Carolina




                                                  31
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                                         51708



FOR PLAINTIFF STATE OF SOUTH DAKOTA:

MARTY JACKLEY
Attorney General


/s/ Jonathan Van Patten
Jonathan Van Patten
Assistant Attorney General
Office of the Attorney General
1302 E. Highway 14, Suite 1
Pierre, SD 57501
Tel: 605-773-3215
jonathan.vanpatten@state.sd.us

Attorney for Plaintiff State of South Dakota




                                               32
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                                          51709



FOR PLAINTIFF STATE OF UTAH:

Derek E. Brown
Utah Attorney General

/s/ Matthew Michaloski
Matthew Michaloski
Marie W.L. Martin
Assistant Attorneys General
160 East 300 South, 5th Floor
P.O. Box 140811
Salt Lake City, UT 84114
mmichaloski@agutah.gov
Telephone: (801) 440-9825

Attorneys for Plaintiff State of Utah and
as counsel for the Utah Division of Consumer Protection




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                                CERTIFICATE OF SERVICE

       I certify that on January 6, 2025, this document was filed electronically in compliance with

Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per Local

Rule CV-5(a)(3)(A).

                                                  /s/ Ashley Keller
                                                  Ashley Keller




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